 Case 3:17-cv-02278-X Document 140 Filed 11/30/20                                  Page 1 of 3 PageID 1975



                                UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                         Dallas Division


     CHARLENE CARTER,                                            Civil Case No. 3:17-cv-02278-X

                             Plaintiff,                          PLAINTIFF CHARLENE CARTER’S
                                                                 APPENDIX IN SUPPORT OF HER
     V.                                                          MOTION TO EXTEND TIME TO
                                                                 COMPLETE FACT DISCOVERY
     SOUTHWEST AIRLINES CO., AND
     TRANSPORT WORKERS UNION OF AMERICA,
     LOCAL 556,

                             Defendants.



                                               APPENDIX OF EXHIBITS

A.        Carter Correspondence with Local 556 ......................................................................App. 1

B.        Carter Correspondence with Southwest ....................................................................App. 12



Dated: November 30, 2020                                 Respectfully submitted,


                                                         s/ Matthew B. Gilliam
                                                         Mathew B. Gilliam (admitted pro hac vice)
                                                         New York Bar No. 5005996
                                                         mbg@nrtw.org
                                                         Jeffrey D. Jennings (admitted pro hac vice)
                                                         Virginia Bar No. 87667
                                                         jdj@nrtw.org
                                                         c/o National Right to Work Legal Defense
                                                         Foundation, Inc.
                                                         8001 Braddock Road, Suite 600
                                                         Springfield, Virginia 22160
                                                         Tel: 703-321-8510
                                                         Fax: 703-321-9319

                                                         s/ Jason E. Winford (with permission)
                                                         David E. Watkins
                                                         Texas Bar No. 20922000

                                                             1
Case 3:17-cv-02278-X Document 140 Filed 11/30/20     Page 2 of 3 PageID 1976



                                 dwatkins@jenkinswatkins.com
                                 Jason E. Winford
                                 Texas Bar No. 00788693
                                 jwinford@jenkinswatkins.com
                                 JENKINS & WATKINS, P.C.
                                 4300 MacArthur Avenue, Suite 165
                                  Dallas, Texas 75209
                                 Tel: 214-378-6675
                                 Fax: 214-378-6680



                                 Attorneys for Plaintiff Charlene Carter




                                    2
  Case 3:17-cv-02278-X Document 140 Filed 11/30/20               Page 3 of 3 PageID 1977



                                     Certificate of Service

       I hereby certify that on November 30, 2020, I electronically filed the foregoing document

with the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.



                                            s/ Matthew B. Gilliam
